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 4   Attorney for Defendant
     SERGEY PUKHKAN
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 6
 7                         IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                           No. 2:11-CR-00490 JAM
11                                 Plaintiff,            STIPULATION AND ORDER SETTING
                                                         STATUS CONFERENCE, AND TO
12          vs.                                          EXCLUDE TIME PURSUANT TO THE
                                                         SPEEDY TRIAL ACT
13   IRINA MARKEVICH, et al.
14                                 Defendants.
15
16          On January 29, 2013, the parties appeared before the Court for a status conference.
17   Assistant United States Attorney Steven Lapham appeared on behalf of plaintiff United States
18   of America. Counsel for all defendants appeared on behalf of their respective clients. Alex
19   Markevich appeared pro se.
20          IT IS HEREBY STIPULATED by and between the parties hereto through their
21   respective counsel that the next status conference has been set for April 9, 2013, at 9:45 a.m.
22          The Government concurs with this request.
23          Further, the parties agree and stipulate the ends of justice served by the granting of such
24   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
25   that time within which the trial of this case must be commenced under the Speedy Trial Act
26   should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
27   Local Code T-4 (to allow defense counsel time to prepare), from the date of the parties’
28   stipulation, January 31, 2013, to and including April 9, 2013.


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 1          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
 2          IT IS SO STIPULATED.
 3   Dated: January 31, 2013                               Respectfully submitted,
 4                                                         /s/ Michael E. Hansen
                                                           MICHAEL E. HANSEN
 5                                                         Attorney for Defendant
                                                           SERGEY PUKHKAN
 6
     Dated: January 31, 2013                               /s/ Michael E. Hansen for
 7                                                         TIMOTHY WARRINER
                                                           Attorney for Defendant
 8                                                         IRINA MARKEVICH
 9   Dated: January 31, 2013                               /s/ Michael E. Hansen for
                                                           ALEX MARKEVICH
10                                                         Defendant Pro Se
11   Dated: January 31, 2013                               /s/ Michael E. Hansen for
                                                           CLIFFORD SCHERER
12                                                         Attorney for Defendant
                                                           ANATOLIY MARKEVICH
13
     Dated: January 31, 2013                               /s/ Michael E. Hansen for
14                                                         MARK REICHEL
                                                           Attorney for Defendant
15                                                         DANIIL MARKEVICH
16   Dated: January 31, 2013                               /s/ Michael E. Hansen for
                                                           JULIA YOUNG
17                                                         Attorney for Defendant
                                                           SVETLANA MARKEVICH
18
     Dated: January 31, 2013                               /s/ Michael E. Hansen for
19                                                         DINA SANTOS
                                                           Attorney for Defendant
20                                                         MARINA PUKHKAN
21   Dated: January 31, 2013                               BENJAMIN B. WAGNER
                                                           United States Attorney
22
                                                           By: /s/ Michael E. Hansen for
23                                                         STEVEN LAPHAM
                                                           Assistant U.S. Attorney
24                                                         Attorney for Plaintiff
25
26                                               ORDER
27          The Court, having received, read, and considered the stipulation of the parties, and
28   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.


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 1   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
 2   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
 3   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
 4   specifically finds that the failure to grant a continuance in this case would deny defense
 5   counsel to this stipulation reasonable time necessary for effective preparation, taking into
 6   account the exercise of due diligence. The Court finds that the ends of justice to be served by
 7   granting the requested continuance outweigh the best interests of the public and the defendants
 8   in a speedy trial.
 9           The Court orders that the time from the date of the parties’ stipulation, January 31,
10   2013, to and including April 9, 2013, shall be excluded from computation of time within which
11   the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C.
12   section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for defense counsel to prepare).
13   It is further ordered that the next status conference shall be held on April 9, 2013, at 9:45 a.m.
14           IT IS SO ORDERED.
15   Dated: 1/31/2013
            __________________________                     /s/ John A. Mendez____________
16                                                         JOHN A. MENDEZ
                                                           United States District Court Judge
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